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 4                                                                11/2/2023
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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                             January 2023 Grand Jury

11   UNITED STATES OF AMERICA,               CR No. 2:23-cr-00533-SVW

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [21 U.S.C. §§ 841(a)(1),
                                             (b)(1)(C): Distribution of
14   SKYLAR MITCHELL,                        Fentanyl Resulting in Death; 21
                                             U.S.C. §§ 841(a)(1), (b)(1)(C):
15             Defendant.                    Possession with Intent to
                                             Distribute Fentanyl]
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18        The Grand Jury charges:

19                                     COUNT ONE

20                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C))]

21        On or about November 5, 2022, in Los Angeles County, within the

22   Central District of California, defendant SKYLAR MITCHELL knowingly

23   and intentionally distributed N-phenyl-N-[1-(2-phenlyethyl)-4-

24   piperidinyl] propanamide (“fentanyl”), a Schedule II narcotic drug

25   controlled substance, the use of which resulted in the death and

26   serious bodily injury of J.M.

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 1                                     COUNT TWO

 2                      [21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

 3        On or about November 9, 2022, in Los Angeles County, within the

 4   Central District of California, defendant SKYLAR MITCHELL knowingly

 5   and intentionally possessed with intent to distribute N-phenyl-N-[1-

 6   (2-phenlyethyl)-4-piperidinyl] propanamide (“fentanyl”), a Schedule

 7   II narcotic drug controlled substance.

 8

 9                                               A TRUE BILL
10
                                                     /s/
11
                                                 Foreperson
12

13   E. MARTIN ESTRADA
     United States Attorney
14
     MACK E. JENKINS
15   Assistant United States Attorney
     Chief, Criminal Division
16

17

18   SCOTT M. GARRINGER
     Assistant United States Attorney
19   Deputy Chief, Criminal Division
20   IAN V. YANNIELLO
     Assistant United States Attorney
21   Deputy Chief, General Crimes Section
22   DECLAN T. CONROY
     Assistant United States Attorney
23   General Crimes Section
24

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